The bill was filed, as an interlocutory petition, and sets forth that some of the plaintiff's in the present cause, at Spring Term, 1860, of HALIFAX, filed a petition against the others as tenants in common with them, for the sale of a tract of land; that the land was sold under a decree of the court, and the defendant, Peter R. Hines, became the purchaser; that he gave his bonds for the purchase money, payable in June and December, 1861; that the bonds still remain unpaid, but that the title to the land has not been conveyed to the defendant; that he was admitted into possession and has been committing waste on the land. The prayer was that the land be resold unless the defendant shall pay the money into the office, and in case of resale that the defendant be required to account for his occupation and waste, and for further relief.
There is nothing to distinguish this case from Rogers v. Holt, ante, 108, and the other cases cited in support of the demurrer.
These authorities are decisive.
We can not without confounding all idea of equity pleading adopt the suggestion of Mr. Moore, that this bill (for it has all of the requisites of an original both in form and substance), may be treated as a mere notice of a motion in a cause.
Let the demurrer be allowed and the
PER CURIAM.                                       Bill dismissed.
Cited: Baird v. Baird, post, 322; Lord v. Beard, 79 N.C. 11.
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